
TAYLOR, Judge.
This appeal raises the same issues as raised in the case of Ervin v. State, 442 So.2d 123 (Ala.Crim.App.1983) and is controlled by the same principles as set out therein and by the same directions to the trial court.
This case is accordingly remanded with directions to the trial court to make a factual determination as to whether there existed a conflict of interest in this case as herein noted. The trial court is further directed that the appellant and his counsel should be present at the hearing conducted on the issue herein set forth. A transcript of this hearing shall be prepared following this hearing with the appropriate findings set forth in writing by the trial judge, such transcript be returned to this court.
REMANDED WITH DIRECTIONS.
All The Judges concur.
ON RETURN TO REMAND
TAYLOR, Judge.
This is a companion of Eddings v. State, 443 So.2d 1308 (Ala.Crim.App.1983). Appellant Richard Eddings is a brother of Johnny, and he was charged with participating in the same offense. He, too, is of extremely limited mental capacity — intelligence quotient measured at 53 — in the same range as his brother’s 48 I.Q. While Judge Hubert Taylor and I dissented, the majority of the court, in that case, expressed itself on all the issues which arise in this case. Accordingly, this case is reversed and remanded upon authority of Eddings v. State, 443 So.2d 1308 (Ala.Crim. App.1983), cert. denied, [Ms. 83-209 Jan. 13, 1984], for further proceedings not inconsistent with the principles as set out therein.
REVERSED AND REMANDED.
All the Judges concur.
